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                                                                              December 15, 2020

                                                                                         VIA ECF

The Honorable Richard F. Boulware, II
Lloyd D. George Federal Courthouse
333 Las Vegas Blvd. South
Las Vegas, NV 89101


       Re:     Notice of Sealed and Redacted Documents in Le et al. v. Zuffa, LLC, Case No.
               2:15-cv-01045

        Pursuant to this Court’s December 11, 2020 order (ECF No. 772), Zuffa, LLC (“Zuffa”)
and Plaintiffs (jointly, the “Parties”) submit this Notice regarding the exhibits and portions of
exhibits or briefs that they believe are still sealed or redacted.

       The Parties have met and conferred, and agree that the hearing exhibits below remain
redacted:

    Exhibit Number                Description         Sealed or      Applicable Order / Notes
                                                      Redacted
 PCCX41                     Project Basquiat Final    Redacted     Redacted per 9/23/2019
 (Plaintiffs’ Motion for    Posting Memo                           hearing transcript, starting at
 Class Certification (Ex.                                          page 132.
 41);
 WME_ZUFFA_000011
 50)
 PCCX344                    ZFL-2677898               Redacted     Sealing Request Granted
                                                      (ECF 756)    (ECF 764)
 PCCX414 (EXCERPT -         30(b)(6) Deposition of    Redacted     Sealing Requested (ECF 739-
 as filed ECF 739)          Jeff Quinn on behalf                   11)
                            of Zuffa, LLC (July
                            27, 2017), Exhibit 3
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            The Parties further jointly agree that the docket filings and exhibits below remain sealed
     or redacted:

   Main           ECF         Filing Exhibit            Description          Sealed or     Applicable Order /
 Document                        Number                                      Redacted            Notes
Plaintiffs’     518                                                          Redacted    Sealed per ECF 533.
Brief in
Support of
Their Motion
for Class
Certification
                518-3      Plaintiffs’ Motion      Expert Report of Hal J.   Redacted    Sealed per ECF 533. The
                           for Class               Singer, PhD                           Court indicated it should
                           Certification (Ex. 1)                                         be unsealed. (ECF 724.)
                                                                                         However, Defendant’s
                                                                                         redactions requested per
                                                                                         ECF 727 remain
                                                                                         outstanding.
                518-4      Plaintiffs’ Motion      Rebuttal Expert Report    Redacted    Sealed per ECF 533. The
                           for Class               of Hal J. Singer, PhD                 Court indicated it should
                           Certification (Ex. 2)                                         be unsealed. (ECF 724.)
                518-5      Plaintiffs’ Motion      Expert Report of          Redacted    Sealed per ECF 533. The
                           for Class               Andrew Zimbalist                      Court has not ordered this
                           Certification (Ex. 3)                                         to be unsealed. However,
                                                                                         to the extent that the
                                                                                         Court unseals this
                                                                                         document, Defendant’s
                                                                                         redactions requested per
                                                                                         ECF 727 remain
                                                                                         outstanding.
                518-6      Plaintiffs’ Motion      Expert Rebuttal Report    Redacted    Sealed per ECF 533.
                           for Class               of Andrew Zimbalist
                           Certification (Ex. 4)
                518-8      Plaintiffs’ Motion      Expert Report of Guy      Redacted     Sealed per ECF 533.
                           for Class               A. Davis
                           Certification (Ex. 6)
                518-9      Plaintiffs’ Motion      Guy Davis Rebuttal        Redacted     Sealed per ECF 533.
                           for Class               Report
                           Certification (Ex. 7)
                518-10     Plaintiffs’ Motion      Hal Singer Report -       Sealed      Sealed per ECF 533. The
                           for Class               Errata                                Court indicated it should
                           Certification (Ex. 8)                                         be unsealed. (ECF 724.)
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  Main       ECF      Filing Exhibit             Description         Sealed or     Applicable Order /
Document                 Number                                      Redacted            Notes
           518-11   Plaintiffs’ Motion      Hal Singer Report -      Sealed      Sealed per ECF 533. The
                    for Class               Errata                               Court indicated it should
                    Certification (Ex. 9)                                        be unsealed. (ECF 724.)
           518-12   Plaintiffs’ Motion      Andrew Zimbalist         Redacted    Sealed per ECF 533.
                    for Class               Report - Errata
                    Certification (Ex.
                    10)
           518-13   Plaintiffs’ Motion      Excerpts - Expert        Redacted    Sealed per ECF 533. The
                    for Class               Report of Robert Topel               Court indicated it should
                    Certification (Ex.                                           be unsealed. (ECF 724.)
                    11)
           518-15   Plaintiffs’ Motion      Deposition of Kirk       Redacted     Sealed per ECF 533.
                    for Class               Hendrick (excerpts)
                    Certification (Ex.
                    13)
           518-18   Plaintiffs’ Motion      Deposition of Lorenzo    Redacted     Sealed per ECF 533.
                    for Class               Fertitta (excerpts)
                    Certification (Ex.
                    16)
           518-19   Plaintiffs’ Motion      Deposition of Sean       Redacted     Sealed per ECF 533.
                    for Class               Shelby (excerpts)
                    Certification (Ex.
                    17)
           518-20   Plaintiffs’ Motion      Deposition of Drew       Sealed      Sealed per ECF 533.
                    for Class               Goldman (excerpts)
                    Certification (Ex.
                    18)
           518-21   Plaintiffs’ Motion      Deposition of Joseph     Sealed      Sealed per ECF 533.
                    for Class               Silva (excerpts)
                    Certification (Ex.
                    19)
           518-22   Plaintiffs’ Motion      Deposition of Scott      Sealed      Sealed per ECF 533.
                    for Class               Coker (excerpts)
                    Certification (Ex.
                    20)
           518-23   Plaintiffs’ Motion      Deposition of Dana       Sealed      Sealed per ECF 533.
                    for Class               White (excerpts)
                    Certification (Ex.
                    21)
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  Main       ECF      Filing Exhibit          Description         Sealed or     Applicable Order /
Document                 Number                                   Redacted            Notes
           518-25   Plaintiffs’ Motion   Deposition of Robert     Sealed      Sealed per ECF 533.
                    for Class            Topel (excerpts)
                    Certification (Ex.
                    23)
           518-26   Plaintiffs’ Motion   Deposition of Robert     Sealed      Sealed per ECF 533.
                    for Class            Topel (excerpts)
                    Certification (Ex.
                    24)
           518-28   Plaintiffs’ Motion   Zuffa Intangible Asset   Sealed      Sealed per ECF 533.
                    for Class            Treatment Discussion
                    Certification (Ex.   Memo
                    26)
           518-29   Plaintiffs’ Motion   Email Subj: RE: Fighter Sealed       Sealed per ECF 533.
                    for Class            project
                    Certification (Ex.
                    27)
           518-30   Plaintiffs’ Motion   Financing Discussion     Sealed      Sealed per ECF 533.
                    for Class            Materials: Goldman,
                    Certification (Ex.   Sachs, Aug. 3, 2012
                    28)
           518-31   Plaintiffs’ Motion   Moody's Investor         Sealed      Sealed per ECF 533.
                    for Class            Service, 2010.12.03
                    Certification (Ex.
                    29)
           518-32   Plaintiffs’ Motion   Email Subj: Re: Nate     Sealed      Sealed per ECF 533.
                    for Class            Diaz
                    Certification (Ex.
                    30)
           518-33   Plaintiffs’ Motion   Email Subj: Re:          Sealed      Sealed per ECF 533.
                    for Class            goldenboy (marquez vs
                    Certification (Ex.   mayweather)
                    31)
           518-34   Plaintiffs’ Motion   Moody's Investor         Sealed      Sealed per ECF 533.
                    for Class            Service, 2014.02.03
                    Certification (Ex.
                    32)
           518-35   Plaintiffs’ Motion   Pride meeting results    Sealed       Sealed per ECF 533.
                    for Class
                    Certification (Ex.
                    33)
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   Main           ECF      Filing Exhibit             Description         Sealed or     Applicable Order /
 Document                     Number                                      Redacted            Notes
                518-36   Plaintiffs’ Motion      Fwd: Conor Huen          Sealed      Sealed per ECF 533.
                         for Class
                         Certification (Ex.
                         34)
                518-37   Plaintiffs’ Motion      Zuffa Confidential       Sealed      Sealed per ECF 533.
                         for Class               Information
                         Certification (Ex.      Memorandum, October
                         35)                     2009
                518-39   Plaintiffs’ Motion      Moody's Investor         Sealed      Sealed per ECF 533.
                         for Class               Service, 2009.11.10
                         Certification (Ex.
                         37)
                518-40   Plaintiffs’ Motion      Leveraged Finance        Sealed      Sealed per ECF 533.
                         for Class               Credit Report
                         Certification (Ex.
                         38)
                518-41   Plaintiffs’ Motion      Confidential             Sealed      Sealed per ECF 533.
                         for Class               Information
                         Certification (Ex.      Memorandum, May
                         39)                     2007
                518-42   Plaintiffs’ Motion      Finance Vest             Sealed      Sealed per ECF 533.
                         for Class               Spreadsheet from
                         Certification (Ex.      RAINE
                         40)
                518-44   Plaintiffs’ Motion      30(b)(6) Deposition of   Sealed      Sealed per ECF 533.
                         for Class               Jeff Quinn Exhibit 3
                         Certification (Ex.      (excerpted)
                         42)
                518-45   Plaintiffs’ Motion      Deposition of Dana       Redacted     Sealed per ECF 533.
                         for Class               White (excerpts)
                         Certification (Ex.
                         48)
Zuffa’s         540                                                       Redacted    Sealed per ECF 625.
Response in
Opposition to
Plaintiffs’
Motion for
Class
Certification
                540-5    Zuffa’s Opposition      Declaration of           Sealed      Sealed per ECF 625. The
                         to Class                Professor Robert H.                  Court indicated it should
                         Certification (Ex. 1)   Topel                                be unsealed. (ECF 724.)
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  Main       ECF      Filing Exhibit             Description          Sealed or     Applicable Order /
Document                 Number                                       Redacted            Notes
           540-6    Zuffa’s Opposition      Expert Report of Robert Redacted      Sealed per ECF 625. The
                    to Class                Topel                                 Court indicated it should
                    Certification (Ex. 2)                                         be unsealed. (ECF 724.)
           540-7    Zuffa’s Opposition      Expert Report of Roger    Redacted    Sealed per ECF 625.
                    to Class                D. Blair
                    Certification (Ex. 3)
           540-8    Zuffa’s Opposition      Expert Report of Paul     Redacted     Sealed per ECF 625.
                    to Class                Oyer
                    Certification (Ex. 4)
           540-9    Zuffa’s Opposition      Expert Report of Hal J.   Redacted    Sealed per ECF 625. The
                    to Class                Singer, PhD                           Court indicated it should
                    Certification (Ex. 5)                                         be unsealed. (ECF 724.)
                                                                                  However, Defendant’s
                                                                                  redactions requested per
                                                                                  ECF 727 remain
                                                                                  outstanding.
           540-10   Zuffa’s Opposition      Expert Rebuttal Report    Redacted    Sealed per ECF 625. The
                    to Class                of Hal J. Singer                      Court indicated it should
                    Certification (Ex. 6)                                         be unsealed. (ECF 724.)
           540-11   Zuffa’s Opposition      Expert Report of          Redacted    Sealed per ECF 625. The
                    to Class                Andrew Zimbalist                      Court has not ordered this
                    Certification (Ex. 7)                                         to be unsealed. However,
                                                                                  to the extent that the
                                                                                  Court unseals this
                                                                                  document, Defendant’s
                                                                                  redactions requested per
                                                                                  ECF 727 remain
                                                                                  outstanding.
           540-12   Zuffa’s Opposition      30(b)(6) Deposition of    Redacted    Sealing Requested (ECF
                    to Class                Zuffa, LLC (excerpts)                 541), Granted (ECF 625)
                    Certification (Ex. 8)
           540-14   Zuffa’s Opposition      Deposition of Denitza     Redacted    Sealing Requested (ECF
                    to Class                Batchvarova (excerpts)                541), Granted (ECF 625)
                    Certification (Ex.
                    10)
           540-15   Zuffa’s Opposition      30(b)(6) Deposition of    Redacted    Sealing Requested (ECF
                    to Class                Zuffa, LLC (excerpts)                 541), Granted (ECF 625)
                    Certification (Ex.
                    11)
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  Main       ECF      Filing Exhibit          Description           Sealed or     Applicable Order /
Document                 Number                                     Redacted            Notes
           540-20   Zuffa’s Opposition   Deposition of Kyle         Redacted    Sealing Requested (ECF
                    to Class             Kingsbury                              541), Granted (ECF 625)
                    Certification (Ex.
                    16)
           540-23   Zuffa’s Opposition   Exclusive Promotional      Sealed      Sealing Requested (ECF
                    to Class             and Ancillary Rights                   541), Granted (ECF 625)
                    Certification (Ex.   Agreement between
                    19)                  Zuffa and Plaintiff Jon
                                         Fitch (Jan. 7, 2007)
           540-24   Zuffa’s Opposition   Exclusive Promotional      Sealed      Sealing Requested (ECF
                    to Class             and Ancillary Rights                   541), Granted (ECF 625)
                    Certification (Ex.   Agreement between
                    20)                  Zuffa and TEI (Plaintiff
                                         Brandon Vera) (Dec. 7.
                                         2009)
           540-25   Zuffa’s Opposition   Exclusive Promotional      Sealed      Sealing Requested (ECF
                    to Class             and Ancillary Rights                   541), Granted (ECF 625)
                    Certification (Ex.   Agreement between
                    21)                  WEC and Plaintiff
                                         Javier Vasquez (Sept.
                                         22, 2010)
           540-26   Zuffa’s Opposition   Notice of Extension of     Sealed      Sealing Requested (ECF
                    to Class             Term of Promotional                    541), Granted (ECF 625)
                    Certification (Ex.   Agreement and related
                    22)                  emails
           540-27   Zuffa’s Opposition   Notice of Extension of     Sealed      Sealing Requested (ECF
                    to Class             Term of Promotional                    541), Granted (ECF 625)
                    Certification (Ex.   Agreement
                    23)
           540-28   Zuffa’s Opposition   Notice of Termination      Sealed      Sealing Requested (ECF
                    to Class             of                                     541), Granted (ECF 625)
                    Certification (Ex.   Promotional
                    24)                  Obligations of
                                         Zuffa, LLC
           540-29   Zuffa’s Opposition   Email Subj: FW: Josh       Sealed      Sealing Requested (ECF
                    to Class             Thomson Offer                          541), Granted (ECF 625)
                    Certification (Ex.
                    25)
           540-30   Zuffa’s Opposition   Letter: RE: Josh           Sealed      Sealing Requested (ECF
                    to Class             Thomson: Right to                      541), Granted (ECF 625)
                    Certification (Ex.   Match
                    26)
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  Main       ECF      Filing Exhibit          Description          Sealed or     Applicable Order /
Document                 Number                                    Redacted            Notes
           540-32   Zuffa’s Opposition   Deposition of Michael     Redacted    Sealing Requested (ECF
                    to Class             P. Mersch                             541), Granted (ECF 625)
                    Certification (Ex.
                    28)
           540-33   Zuffa’s Opposition   Email Subj: Re: Alan      Sealed      Sealing Requested (ECF
                    to Class             Jouban                                541), Granted (ECF 625),
                    Certification (Ex.                                         but publicly available at
                    29)                                                        752-12.
           540-34   Zuffa’s Opposition   Email Subj: RE:           Sealed      Sealing Requested (ECF
                    to Class             Anthony Perosh                        541), Granted (ECF 625),
                    Certification (Ex.                                         but publicly available at
                    30)                                                        752-12.
           540-35   Zuffa’s Opposition   Email Subj: Re: Mike      Sealed      Sealing Requested (ECF
                    to Class             Pyle                                  541), Granted (ECF 625),
                    Certification (Ex.                                         but publicly available at
                    31)                                                        752-12.
           540-36   Zuffa’s Opposition   Email Subj: Re: Daniel    Sealed      Sealing Requested (ECF
                    to Class             Kelly                                 541), Granted (ECF 625)
                    Certification (Ex.
                    32)
           540-37   Zuffa’s Opposition   Email Subj: RW: Thago Sealed          Sealing Requested (ECF
                    to Class             Santos                                541), Granted (ECF 625)
                    Certification (Ex.
                    33)
           540-39   Zuffa’s Opposition   Email Subj: RE: Jason     Sealed      Sealing Requested (ECF
                    to Class             Day vs. Kendall Grove                 541), Granted (ECF 625)
                    Certification (Ex.
                    35)
           540-42   Zuffa’s Opposition   Deposition of Carlos      Redacted    Sealing Requested (ECF
                    to Class             Silva (excerpts)                      541), Granted (ECF 625)
                    Certification (Ex.
                    38)
           540-46   Zuffa’s Opposition   Deposition of Lorenzo     Redacted    Sealing Requested (ECF
                    to Class             Fertitta (excerpts)                   541), Granted (ECF 625)
                    Certification (Ex.
                    42)
           540-47   Zuffa’s Opposition   Deposition of Joe Silva   Redacted    Sealing Requested (ECF
                    to Class             (excerpts)                            541), Granted (ECF 625)
                    Certification (Ex.
                    43)
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  Main       ECF      Filing Exhibit          Description          Sealed or     Applicable Order /
Document                 Number                                    Redacted            Notes
           540-48   Zuffa’s Opposition   Deposition of Ike         Redacted    Sealing Requested (ECF
                    to Class             Lawrence Epstein                      541), Granted (ECF 625)
                    Certification (Ex.   (excerpts)
                    44)
           540-49   Zuffa’s Opposition   Exclusive Commercial      Sealed      Sealing Requested (ECF
                    to Class             Rights Agreement                      541), Granted (ECF 625)
                    Certification (Ex.   between Plaintiff Vera
                    45)                  and One Fighting
                                         Championship
           540-50   Zuffa’s Opposition   Exclusive Promotional     Sealed      Sealing Requested (ECF
                    to Class             Fight                                 541), Granted (ECF 625)
                    Certification (Ex.   Agreement between
                    46)                  Plaintiff
                                         Fitch and MMAWC
                                         (“WSOF”)
           540-51   Zuffa’s Opposition   Exclusive Promotional     Sealed      Sealing Requested (ECF
                    to Class             Fight                                 541), Granted (ECF 625)
                    Certification (Ex.   Agreement between
                    47)                  Plaintiff
                                         Fitch and MMAWC
                                         (“WSOF”)
           540-53   Zuffa’s Opposition   Deposition of Dr. Hal     Redacted    Sealing Requested (ECF
                    to Class             Singer (excerpts)                     541), Granted (ECF 625)
                    Certification (Ex.
                    49)
           540-54   Zuffa’s Opposition   Deposition of Andrew      Redacted    Sealing Requested (ECF
                    to Class             Zimbalist, Excerpts                   541), Granted (ECF 625)
                    Certification (Ex.
                    50)
           540-55   Zuffa’s Opposition   Letter: Re: Acquisition   Sealed      Sealing Requested (ECF
                    to Class             of Explosion                          541), Granted (ECF 625)
                    Certification (Ex.   Entertainment, LLC
                    51)                  (Strikeforce) by Zuffa,
                                         LLC (UFC) FTC File
                                         No. 1110136
           540-56   Zuffa’s Opposition   Answers to Defendant      Redacted    Sealing Requested (ECF
                    to Class             Zuffa, LLC's First Set                541), Granted (ECF 625)
                    Certification (Ex.   of Interrogatories to
                    52)                  Plaintiffs Le, Quarry,
                                         Fitch, Vera, Vazquez
                                         and Kingsbury
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  Main       ECF      Filing Exhibit          Description          Sealed or     Applicable Order /
Document                 Number                                    Redacted            Notes
           540-57   Zuffa’s Opposition   Email Subj: Fwd: Holly    Sealed      Sealing Requested (ECF
                    to Class             Holm                                  541), Granted (ECF 625)
                    Certification (Ex.
                    53)
           540-58   Zuffa’s Opposition   Email Subj: Fw: jake      Sealed      Sealing Requested (ECF
                    to Class             shields                               541), Granted (ECF 625)
                    Certification (Ex.
                    54)
           540-59   Zuffa’s Opposition   Email Subj: Re: Brad      Sealed      Sealing Requested (ECF
                    to Class             Tavares                               541), Granted (ECF 625),
                    Certification (Ex.                                         but publicly available at
                    55)                                                        752-12.
           540-61   Zuffa’s Opposition   Ratification by Brandon   Sealed      Sealing Requested (ECF
                    to Class             Vera                                  541), Granted (ECF 625)
                    Certification (Ex.
                    57)
           540-63   Zuffa’s Opposition   WEC Letter to Javier      Sealed      Sealing Requested (ECF
                    to Class             Vazquez re:                           541), Granted (ECF 625)
                    Certification (Ex.   Assignment of
                    59)                  Contract to UFC
           540-64   Zuffa’s Opposition   Email Subj: RE: Randy     Sealed      Sealing Requested (ECF
                    to Class             Couture                               541), Granted (ECF 625)
                    Certification (Ex.
                    60)
           540-65   Zuffa’s Opposition   Expert Report of          Redacted     Sealed per ECF 625.
                    to Class             Elizabeth Kroger Davis
                    Certification (Ex.
                    61)
           540-68   Zuffa’s Opposition   Deposition of Dr. Hal     Redacted    Sealing Requested (ECF
                    to Class             Singer (excerpts)                     541), Granted (ECF 625)
                    Certification (Ex.
                    64)
           540-69   Zuffa’s Opposition   Letter to UFC athletes    Sealed      Sealing Requested (ECF
                    to Class             re:                                   541), Granted (ECF 625)
                    Certification (Ex.   2015 UFC Athlete
                    65)                  Outfitting
                                         Policy
           540-70   Zuffa’s Opposition   30(b)(6) Deposition of    Redacted    Sealing Requested (ECF
                    to Class             Zuffa, LLC (excerpts)                 541), Granted (ECF 625)
                    Certification (Ex.
                    66)
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  Main       ECF      Filing Exhibit          Description          Sealed or     Applicable Order /
Document                 Number                                    Redacted            Notes
           540-71   Zuffa’s Opposition   Exclusive Promotional     Sealed      Sealing Requested (ECF
                    to Class             and                                   541), Granted (ECF 625)
                    Certification (Ex.   Ancillary Rights
                    67)                  Agreement
                                         between Zuffa and
                                         Brock
                                         Lesnar
           540-72   Zuffa’s Opposition   Deposition of Cung Le     Redacted    Sealing Requested (ECF
                    to Class             (excerpts)                            541), Granted (ECF 625)
                    Certification (Ex.
                    68)
           540-73   Zuffa’s Opposition   Email Subj: Re: trinity   Sealed      Sealing Requested (ECF
                    to Class             products no payment                   541), Granted (ECF 625)
                    Certification (Ex.
                    69)
           540-74   Zuffa’s Opposition   Email Subj: Re: Keith     Sealed      Sealing Requested (ECF
                    to Class             Jardine VITAZEN***                    541), Granted (ECF 625)
                    Certification (Ex.   URGENT NOT
                    70)                  APPROVED!
           540-75   Zuffa’s Opposition   UFC on Versus 4/June      Sealed      Sealing Requested (ECF
                    to Class             19, 2011 Event                        541), Granted (ECF 625)
                    Certification (Ex.   Sponsorship Request
                    71)                  Form
           540-76   Zuffa’s Opposition   (30)(b)(6) Deposition     Redacted    Sealing Requested (ECF
                    to Class             of Zuffa, LLC; Michael                541), Granted (ECF 625)
                    Certification (Ex.   Mossholder (excerpts)
                    72)
           540-78   Zuffa’s Opposition   Email Subj: Fw:           Sealed      Sealing Requested (ECF
                    to Class             Ricardo Almeida.                      541), Granted (ECF 625)
                    Certification (Ex.
                    74)
           540-79   Zuffa’s Opposition   Email Subj: RE: Shane     Sealed      Sealing Requested (ECF
                    to Class             Carwin                                541), Granted (ECF 625),
                    Certification (Ex.                                         but publicly available at
                    75)                                                        752-12.
           540-80   Zuffa’s Opposition   Email Subj: Silva         Sealed      Sealing Requested (ECF
                    to Class             Contract Offer -                      541), Granted (ECF 625)
                    Certification (Ex.   20130308.pdf
                    76)
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  Main       ECF      Filing Exhibit          Description         Sealed or     Applicable Order /
Document                 Number                                   Redacted            Notes
           540-81   Zuffa’s Opposition   Letter: RE: Signing      Sealed      Sealing Requested (ECF
                    to Class             Bonus                                541), Granted (ECF 625)
                    Certification (Ex.
                    77)
           540-82   Zuffa’s Opposition   Email Subj: RE: Letter   Sealed      Sealing Requested (ECF
                    to Class             of Agreement:                        541), Granted (ECF 625)
                    Certification (Ex.   Promotional and
                    78)                  Sponsorship Activities
                                         and Grant of Ancillary
                                         Rights
           540-83   Zuffa’s Opposition   Email Subj: Wanderlei    Sealed      Sealing Requested (ECF
                    to Class             Silva VS Chael Sonnen                541), Granted (ECF 625)
                    Certification (Ex.   - Brazil (May 31)
                    79)
           540-84   Zuffa’s Opposition   Deposition of Sean       Redacted    Sealing Requested (ECF
                    to Class             Shelby (excerpts)                    541), Granted (ECF 625)
                    Certification (Ex.
                    80)
           540-85   Zuffa’s Opposition   Minimum Fighter Pay,     Sealed      Sealing Requested (ECF
                    to Class             January 2015                         541), Granted (ECF 625),
                    Certification (Ex.                                        but publicly available at
                    81)                                                       752-12.
           540-86   Zuffa’s Opposition   Email Subj: RE: John     Sealed      Sealing Requested (ECF
                    to Class             Moraga's Fox 8 Bonus                 541), Granted (ECF 625)
                    Certification (Ex.
                    82)
           540-87   Zuffa’s Opposition   Email Subj: RE: FS1      Sealed      Sealing Requested (ECF
                    to Class             #24 Jan 18 Boston                    541), Granted (ECF 625)
                    Certification (Ex.   Bonuses
                    83)
           540-88   Zuffa’s Opposition   Email Subj: Re:          Sealed      Sealing Requested (ECF
                    to Class             caraway                              541), Granted (ECF 625)
                    Certification (Ex.
                    84)
           540-89   Zuffa’s Opposition   Deposition of Dana       Redacted    Sealing Requested (ECF
                    to Class             White (excerpts)                     541), Granted (ECF 625)
                    Certification (Ex.
                    85)
           540-90   Zuffa’s Opposition   Email Subj: Fighter      Sealed      Sealing Requested (ECF
                    to Class             Comps (Glover                        541), Granted (ECF 625)
                    Certification (Ex.   Teixeira)
                    86)
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  Main       ECF       Filing Exhibit          Description          Sealed or     Applicable Order /
Document                  Number                                    Redacted            Notes
           540-91    Zuffa’s Opposition   Summary of UFC Class      Sealed      Sealing Requested (ECF
                     to Class             Period Event                          541), Granted (ECF 625)
                     Certification (Ex.   Compensation                          AND
                     87)                  by Number of Previous                 Sealing Requested (ECF
                                          Bouts                                 673), Granted (764)

           540-92    Zuffa’s Opposition   Summary of UFC Class      Sealed      Sealing Requested (ECF
                     to Class             Period Event                          541), Granted (ECF 625)
                     Certification (Ex.   Compensation                          AND
                     88)                  by Athlete Ranking                    Sealing Requested (ECF
                                                                                673), Granted (764)

           540-93    Zuffa’s Opposition   Summary of UFC Class      Sealed      Sealing Requested (ECF
                     to Class             Period Event                          541), Granted (ECF
                     Certification (Ex.   Compensation                          625)ANDSealing
                     89)                                                        Requested (ECF 673),
                                                                                Granted (764)

           540-94    Zuffa’s Opposition   Email Subj :FW: John      Sealed      Sealing Requested (ECF
                     to Class             Hathaway agreements                   541), Granted (ECF 625)
                     Certification (Ex.
                     90)
           540-95    Zuffa’s Opposition   Email Subj: Re:           Sealed      Sealing Requested (ECF
                     to Class             licensing agreement?                  541), Granted (ECF 625)
                     Certification (Ex.
                     91)
           540-97    Zuffa’s Opposition   Letter to Eddie Alvarez   Sealed      Sealing Requested (ECF
                     to Class             re:                                   541), Granted (ECF 625)
                     Certification (Ex.   Signing Bonus
                     93)
           540-98    Zuffa’s Opposition   Email Subj: RE: Kyle      Sealed      Sealing Requested (ECF
                     to Class             kings                                 541), Granted (ECF 625)
                     Certification (Ex.
                     94)
           540-99    Zuffa’s Opposition   Letter to Jon Jones re:   Sealed      Sealing Requested (ECF
                     to Class             Signing Bonus                         541), Granted (ECF 625)
                     Certification (Ex.
                     95)
           540-100   Zuffa’s Opposition   Letter to Hector          Sealed      Sealing Requested (ECF
                     to Class             Lombard re:                           541), Granted (ECF 625)
                     Certification (Ex.   Signing Bonus
                     96)
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Document                  Number                                 Redacted            Notes
           540-101   Zuffa’s Opposition   Letter to Benson       Sealed      Sealing Requested (ECF
                     to Class             Henderson                          541), Granted (ECF 625)
                     Certification (Ex.   re: Signing Bonus
                     97)
           540-102   Zuffa’s Opposition   Promotional and        Sealed      Sealing Requested (ECF
                     to Class             Ancillary                          541), Granted (ECF 625)
                     Certification (Ex.   Rights Agreement
                     98)                  between
                                          Zuffa and Jon Fitch
           540-103   Zuffa’s Opposition   Promotional and        Sealed      Sealing Requested (ECF
                     to Class             Ancillary                          541), Granted (ECF 625)
                     Certification (Ex.   Rights Agreement
                     99)                  between
                                          Zuffa and Ronda
                                          Rousey
           540-104   Zuffa’s Opposition   Promotional and        Sealed      Sealing Requested (ECF
                     to Class             Ancillary                          541), Granted (ECF 625)
                     Certification (Ex.   Rights Agreement
                     100)                 between
                                          Zuffa and Lyoto
                                          Machida
           540-105   Zuffa’s Opposition   Promotional and        Sealed      Sealing Requested (ECF
                     to Class             Ancillary                          541), Granted (ECF 625)
                     Certification (Ex.   Rights Agreement
                     101)                 between
                                          Zuffa, LLC and Chael
                                          Sonnen
           540-106   Zuffa’s Opposition   Promotional and        Sealed      Sealing Requested (ECF
                     to Class             Ancillary                          541), Granted (ECF 625)
                     Certification (Ex.   Rights Agreement
                     102)                 between
                                          Zuffa, LLC and Roy
                                          Nelson
           540-107   Zuffa’s Opposition   Promotional and        Sealed      Sealing Requested (ECF
                     to Class             AncillaryRights                    541), Granted (ECF 625)
                     Certification (Ex.   Agreement between
                     103)                 Zuffa and Gegard
                                          Mousasi
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Document                  Number                                   Redacted            Notes
           540-108   Zuffa’s Opposition   Promotional and          Sealed      Sealing Requested (ECF
                     to Class             Ancillary                            541), Granted (ECF 625)
                     Certification (Ex.   Rights Agreement
                     104)                 between
                                          Zuffa and Alistair
                                          Overeem
           540-109   Zuffa’s Opposition   First Amendment to       Sealed      Sealing Requested (ECF
                     to Class             Promotional and                      541), Granted (ECF 625)
                     Certification (Ex.   Ancillary
                     105)                 Rights Agreement
                                          Dated
                                          December 29, 2014
                                          between
                                          Zuffa and Quinton
                                          Jackson
           540-110   Zuffa’s Opposition   Promotional and          Sealed      Sealing Requested (ECF
                     to Class             Ancillary                            541), Granted (ECF 625)
                     Certification (Ex.   Rights Agreement
                     106)                 between
                                          Zuffa, LLC and Gilbert
                                          Melendez
           540-111   Zuffa’s Opposition   Promotional and          Sealed      Sealing Requested (ECF
                     to Class             Ancillary                            541), Granted (ECF 625)
                     Certification (Ex.   Rights Agreement
                     107)                 between
                                          Zuffa, LLC and Urijah
                                          Faber
           540-112   Zuffa’s Opposition   Promotional and          Sealed      Sealing Requested (ECF
                     to Class             Ancillary                            541), Granted (ECF 625)
                     Certification (Ex.   Rights Agreement
                     108)                 between
                                          Zuffa and Phillip
                                          Brooks
           540-113   Zuffa’s Opposition   Athletes Receiving       Sealed      Sealing Requested (ECF
                     to Class             PPV Payments chart                   541), Granted (ECF 625)
                     Certification (Ex.
                     109)
           540-114   Zuffa’s Opposition   Email Subj: RE: UFC      Sealed      Sealing Requested (ECF
                     to Class             186 - Media in Los                   541), Granted (ECF 625)
                     Certification (Ex.   Angeles 4/19-4/20
                     110)
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Document                  Number                                    Redacted            Notes
           540-115   Zuffa’s Opposition   Email Subj: Fabricio      Sealed      Sealing Requested (ECF
                     to Class             Werdum - please verify                541), Granted (ECF 625)
                     Certification (Ex.   and please look at
                     111)                 present incidentals
                                          below
           540-116   Zuffa’s Opposition   Bout Agreement            Sealed      Sealing Requested (ECF
                     to Class             between                               541), Granted (ECF 625)
                     Certification (Ex.   Zuffa, LLC and Mark
                     112)                 Hunt
           540-117   Zuffa’s Opposition   Promotional and           Sealed      Sealing Requested (ECF
                     to Class             Ancillary                             541), Granted (ECF 625)
                     Certification (Ex.   Rights Agreement
                     113)                 between
                                          Zuffa, LLC and Holly
                                          Holm,
                                          LLC
           540-118   Zuffa’s Opposition   Roy Nelson Letter of      Sealed      Sealing Requested (ECF
                     to Class             Agreement                             541), Granted (ECF 625)
                     Certification (Ex.
                     114)
           540-119   Zuffa’s Opposition   Letter of Agreement       Sealed      Sealing Requested (ECF
                     to Class             between                               541), Granted (ECF 625)
                     Certification (Ex.   Zuffa, LLC and
                     115)                 Rampage
                                          MMA, Inc.
           540-120   Zuffa’s Opposition   Cain Velasquez Letter     Sealed      Sealing Requested (ECF
                     to Class             of                                    541), Granted (ECF 625)
                     Certification (Ex.   Agreement
                     116)
           540-121   Zuffa’s Opposition   Gilbert Melendez Letter   Sealed      Sealing Requested (ECF
                     to Class             of                                    541), Granted (ECF 625)
                     Certification (Ex.   Agreement
                     117)
           540-122   Zuffa’s Opposition   Athletes Receiving        Sealed      Sealing Requested (ECF
                     to Class             LOA Payments chart                    541), Granted (ECF 625)
                     Certification (Ex.
                     118)
           540-123   Zuffa’s Opposition   Athletes Receiving        Sealed      Sealing Requested (ECF
                     to Class             Fight of the Night                    541), Granted (ECF 625)
                     Certification (Ex.   Bonuses chart
                     119)
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  Main       ECF       Filing Exhibit          Description           Sealed or     Applicable Order /
Document                  Number                                     Redacted            Notes
           540-124   Zuffa’s Opposition   Athletes Receiving         Sealed      Sealing Requested (ECF
                     to Class             Knockout of the Night                  541), Granted (ECF 625)
                     Certification (Ex.   Bonuses chart
                     120)
           540-125   Zuffa’s Opposition   Athletes Receiving          Sealed     Sealing Requested (ECF
                     to Class             Submission of the                      541), Granted (ECF 625)
                     Certification (Ex.   Night Bonuses
                     121)
           540-126   Zuffa’s Opposition   Athletes Receiving         Sealed      Sealing Requested (ECF
                     to Class             Performance of the                     541), Granted (ECF 625)
                     Certification (Ex.   Night Bonuses chart
                     122)
           540-127   Zuffa’s Opposition   Email Subj: Bonus           Sealed     Sealing Requested (ECF
                     to Class             Suggestions and Cuts                   541), Granted (ECF 625)
                     Certification (Ex.
                     123)
           540-128   Zuffa’s Opposition   Email Subj: Re: UFC        Sealed      Sealing Requested (ECF
                     to Class             173 May 24 Las Vegas                   541), Granted (ECF 625)
                     Certification (Ex.   Bonuses
                     124)
           540-129   Zuffa’s Opposition   Email Subj: Shogun         Sealed      Sealing Requested (ECF
                     to Class             Rua - UFC113                           541), Granted (ECF 625)
                     Certification (Ex.
                     125)
           540-130   Zuffa’s Opposition   Excerpt of Spreadsheet     Sealed      Sealing Requested (ECF
                     to Class             Showing Video Game                     541), Granted (ECF 625)
                     Certification (Ex.   Rights
                     126)
           540-131   Zuffa’s Opposition   Zuffa Letter to Fabricio   Sealed      Sealing Requested (ECF
                     to Class             Werdum re: video game                  541), Granted (ECF 625)
                     Certification (Ex.   rights
                     127)
           540-132   Zuffa’s Opposition   Promotional and            Sealed      Sealing Requested (ECF
                     to Class             Ancillary                              541), Granted (ECF 625)
                     Certification (Ex.   Rights Agreement
                     128)                 between
                                          Zuffa, LLC and Michel
                                          Prazeres
           540-133   Zuffa’s Opposition   Merchandise Rights         Sealed      Sealing Requested (ECF
                     to Class             Agreement between                      541), Granted (ECF 625)
                     Certification (Ex.   Zuffa and Cung Le
                     129)
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  Main       ECF       Filing Exhibit          Description          Sealed or     Applicable Order /
Document                  Number                                    Redacted            Notes
           540-134   Zuffa’s Opposition   Merchandise Rights        Sealed      Sealing Requested (ECF
                     to Class             Agreement between                     541), Granted (ECF 625)
                     Certification (Ex.   Zuffa and
                     130)                 Cain Velasquez
           540-135   Zuffa’s Opposition   Email Subj: Re: Jorge     Sealed      Sealing Requested (ECF
                     to Class             Masvidal - Superseding                541), Granted (ECF 625)
                     Certification (Ex.   Promotional
                     131)                 Agreement, UFC on
                                          Fox Bout Agreement,
                                          Merchandise
                                          Agreement, Fighter
                                          Information Form
           540-136   Zuffa’s Opposition   Merchandise Rights        Sealed      Sealing Requested (ECF
                     to Class             Agreement between                     541), Granted (ECF 625)
                     Certification (Ex.   WEC
                     132)                 Productions, LLC and
                                          Urijah
                                          Faber
           540-137   Zuffa’s Opposition   Sponsorship Agreement     Sealed      Sealing Requested (ECF
                     to Class             between Zuffa                         541), Granted (ECF 625)
                     Certification (Ex.   Marketing,
                     133)                 LLC and MetroPCS
                                          Wireless,
                                          Inc.
           540-138   Zuffa’s Opposition   Sponsorship               Sealed      Sealing Requested (ECF
                     to Class             Endorsement                           541), Granted (ECF 625)
                     Certification (Ex.   Agreement between
                     134)                 Metro
                                          PCS and Ronda Rousey
           540-139   Zuffa’s Opposition   Sponsorship Agreement     Sealed      Sealing Requested (ECF
                     to Class             between Anheuser-                     541), Granted (ECF 625)
                     Certification (Ex.   Busch
                     135)                 InBev and Zuffa
           540-140   Zuffa’s Opposition   2015 Athlete Outfitting   Sealed      Sealing Requested (ECF
                     to Class             Policy                                541), Granted (ECF 625)
                     Certification (Ex.
                     136)
           540-141   Zuffa’s Opposition   Deposition of Robert      Redacted    Sealing Requested (ECF
                     to Class             Topel (excerpts)                      541), Granted (ECF 625)
                     Certification (Ex.
                     137)
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 Document                     Number                                    Redacted            Notes
Plaintiffs’      554                                                    Redacted    Sealed per ECF 652.
Reply to
Zuffa’s
Response to
Their Motion
for Class
Certification
                 554-3   Plaintiffs’ Reply    Second Supplemental       Sealed      Sealed per ECF 652. The
                         ISO Class            Reply Report of Hal J.                Court indicated it should
                         Certification (Ex.   Singer, Ph.D. (May 28,                be unsealed. (ECF 724.)
                         86)                  2018)
                 554-4   Plaintiffs’ Reply    Deposition of Hal J.      Redacted     Sealed per ECF 652.
                         ISO Class            Singer, Ph.D.
                         Certification (Ex.   (September 27, 2017)
                         87)                  (excerpted)
                 554-5   Plaintiffs’ Reply    Deposition of Robert H.   Redacted     Sealed per ECF 652.
                         ISO Class            Topel (December 6,
                         Certification (Ex.   2017) (excerpted)
                         88)
Zuffa’s Motion   524                                                    Redacted    Sealed per ECF 533.
to Exclude
Expert
Testimony of
Dr. Hal Singer

                 524-3   Zuffa’s Motion to    Expert Report of Hal J.   Redacted    Sealed per ECF 533. The
                         Exclude Expert       Singer, Ph.D.                         Court indicated it should
                         Testimony of Dr.                                           be unsealed. (ECF 724.)
                         Hal Singer (Ex. 1)                                         However, Defendant’s
                                                                                    redactions requested per
                                                                                    ECF 727 remain
                                                                                    outstanding.
                 524-4   Zuffa’s Motion to    Rebuttal Expert Report    Redacted    Sealed per ECF 533. The
                         Exclude Expert       of Hal J. Singer, Ph.D.               Court indicated it should
                         Testimony of Dr.                                           be unsealed. (ECF 724.)
                         Hal Singer (Ex. 2)
                 524-5   Zuffa’s Motion to    Expert Report of Robert Redacted      Sealed per ECF 533. The
                         Exclude Expert       Topel                                 Court indicated it should
                         Testimony of Dr.                                           be unsealed. (ECF 724.)
                         Hal Singer (Ex. 3)
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Document                 Number                                       Redacted            Notes
           524-6    Zuffa’s Motion to     Excerpts from the           Redacted     Sealed per ECF 533.
                    Exclude Expert        transcript of
                    Testimony of Dr.      Defendant's Deposition
                    Hal Singer (Ex. 4)    of Hal J. Singer
           524-7    Zuffa’s Motion to     Excerpts from the           Sealed      Sealed per ECF 533.
                    Exclude Expert        transcript of
                    Testimony of Dr.      Defendant's Deposition
                    Hal Singer (Ex. 5)    of Hal J. Singer
           524-10   Zuffa’s Motion to     Expert Report of Paul       Redacted     Sealed per ECF 533.
                    Exclude Expert        Oyer
                    Testimony of Dr.
                    Hal Singer (Ex. 8)
           524-20   Zuffa’s Motion to     Expert Rebuttal Report      Redacted     Sealed per ECF 533.
                    Exclude Expert        of Andrew Zimbalist
                    Testimony of Dr.
                    Hal Singer (Ex. 18)
           524-22   Zuffa’s Motion to     Glossary of Singer          Redacted    Sealed per ECF 533. The
                    Exclude Expert        Terms                                   Court indicated it should
                    Testimony of Dr.                                              be unsealed (ECF 724),
                    Hal Singer (Ex. 20)                                           and filed in nearly
                                                                                  completely unredacted
                                                                                  form at ECF 727-1-5.
           524-24   Zuffa’s Motion to     Expert Report of Roger      Redacted    Sealed per ECF 533.
                    Exclude Expert        D. Blair
                    Testimony of Dr.
                    Hal Singer (Ex. 22)
           524-30   Zuffa’s Motion to     ZUF-00122280                Sealed      Sealed per ECF 533.
                    Exclude Expert
                    Testimony of Dr.
                    Hal Singer (Ex. 28)
           524-32   Zuffa’s Motion to     ZFL-1224424                 Sealed      Sealed per ECF 533.
                    Exclude Expert
                    Testimony of Dr.
                    Hal Singer (Ex. 30)
           524-34   Zuffa’s Motion to     ZUF-00156469                Sealed      Sealed per ECF 533.
                    Exclude Expert
                    Testimony of Dr.
                    Hal Singer (Ex. 32)
           524-35   Zuffa’s Motion to     Excerpts from the           Redacted     Sealed per ECF 533.
                    Exclude Expert        transcript of Plaintiffs’
                    Testimony of Dr.      Deposition of Denitza
                    Hal Singer (Ex. 33)   Batchvarova
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   Main            ECF      Filing Exhibit           Description            Sealed or     Applicable Order /
 Document                      Number                                       Redacted            Notes
                 524-36   Zuffa’s Motion to     Excerpts from the           Sealed      Sealed per ECF 533.
                          Exclude Expert        transcript of Plaintiffs’
                          Testimony of Dr.      30(b)(6) Deposition of
                          Hal Singer (Ex. 34)   Ike Lawrence Epstein
                 524-37   Zuffa’s Motion to     GBP000003                   Sealed      Sealed per ECF 533.
                          Exclude Expert
                          Testimony of Dr.
                          Hal Singer (Ex. 35)
                 524-38   Zuffa’s Motion to     Declaration of              Sealed      Sealed per ECF 533.
                          Exclude Expert        Abraham Genauer
                          Testimony of Dr.
                          Hal Singer (Ex. 36)
Zuffa’s Motion   522                                                        Redacted    Sealed per ECF 533.
to Exclude
Expert
Testimony of
Dr. Andrew
Zimbalist
                 522-3    Zuffa’s Motion to     Expert Report of            Redacted    Sealed per ECF 533. The
                          Exclude Expert        Andrew Zimbalist                        Court has not ordered this
                          Testimony of Dr.                                              to be unsealed. However,
                          Andrew Zimbalist                                              to the extent that the
                          (Ex. 1)                                                       Court unseals this
                                                                                        document, Zuffa’s
                                                                                        redactions requested per
                                                                                        ECF 727 remain
                                                                                        outstanding.
                 522-4    Zuffa’s Motion to     Excerpts from the           Redacted     Sealed per ECF 533.
                          Exclude Expert        transcript of
                          Testimony of Dr.      Defendant's Deposition
                          Andrew Zimbalist      of Andrew Zimbalist
                          (Ex. 2)
                 522-6    Zuffa’s Motion to     Errata to the Expert        Redacted     Sealed per ECF 533.
                          Exclude Expert        Report of Andrew
                          Testimony of Dr.      Zimbalist
                          Andrew Zimbalist
                          (Ex. 4)
                 522-7    Zuffa’s Motion to     Expert Rebuttal Report      Redacted     Sealed per ECF 533.
                          Exclude Expert        of Andrew Zimbalist
                          Testimony of Dr.
                          Andrew Zimbalist
                          (Ex. 5)
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                 522-10   Zuffa’s Motion to     Expert Report of Roger    Redacted     Sealed per ECF 533.
                          Exclude Expert        D. Blair
                          Testimony of Dr.
                          Andrew Zimbalist
                          (Ex. 8)
                 522-13   Zuffa’s Motion to     GBP000003                 Sealed       Sealed per ECF 533.
                          Exclude Expert
                          Testimony of Dr.
                          Andrew Zimbalist
                          (Ex. 11)
                 522-14   Zuffa’s Motion to     GBP000001                 Sealed       Sealed per ECF 533.
                          Exclude Expert
                          Testimony of Dr.
                          Andrew Zimbalist
                          (Ex. 12)
                 522-15   Zuffa’s Motion to     GBP000002                 Sealed       Sealed per ECF 533.
                          Exclude Expert
                          Testimony of Dr.
                          Andrew Zimbalist
                          (Ex. 13)
Plaintiffs’      534                                                      Redacted    Sealed per ECF 625.
Opposition to
Zuffa’s
Motions to
Exclude
Expert
Testimony of
Dr. Hal Singer
and Dr.
Andrew
Zimbalist
                 534-3    Plaintiffs’           Supplemental Expert       Sealed      Sealed per ECF 625. The
                          Opposition to         Report of Hal J. Singer               Court indicated it should
                          Motions to Exclude                                          be unsealed. (ECF 724.)
                          Expert Testimony of
                          Drs. Singer and
                          Zimbalist (Ex. 49)
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Document                 Number                                       Redacted            Notes
           534-4    Plaintiffs’           Excerpts from the           Redacted     Sealed per ECF 625.
                    Opposition to         transcript of Plaintiffs’
                    Motions to Exclude    Deposition of Joseph
                    Expert Testimony of   Silva
                    Drs. Singer and
                    Zimbalist (Ex. 50)
           534-5    Plaintiffs’           Excerpts from the           Redacted     Sealed per ECF 625.
                    Opposition to         transcript of
                    Motions to Exclude    Defendant’s Deposition
                    Expert Testimony of   of Andrew Zimbalist
                    Drs. Singer and
                    Zimbalist (Ex. 51)
           534-6    Plaintiffs’           Excerpts from the           Redacted     Sealed per ECF 625.
                    Opposition to         transcript of
                    Motions to Exclude    Defendant’s Deposition
                    Expert Testimony of   of Hal Singer
                    Drs. Singer and
                    Zimbalist (Ex. 52)
           534-7    Plaintiffs’           Excerpts from the           Redacted     Sealed per ECF 625.
                    Opposition to         transcript of Plaintiffs’
                    Motions to Exclude    30(b)(6) Deposition of
                    Expert Testimony of   Robert Arum
                    Drs. Singer and
                    Zimbalist (Ex. 53)
           534-8    Plaintiffs’           Excerpts from the           Redacted     Sealed per ECF 625.
                    Opposition to         transcript of Plaintiffs’
                    Motions to Exclude    Deposition of Elizabeth
                    Expert Testimony of   Kroger Davis
                    Drs. Singer and
                    Zimbalist (Ex. 54)
           534-9    Plaintiffs’           Excerpts from the           Redacted     Sealed per ECF 625.
                    Opposition to         transcript of Plaintiffs’
                    Motions to Exclude    Deposition of Paul
                    Expert Testimony of   Oyer
                    Drs. Singer and
                    Zimbalist (Ex. 55)
           534-10   Plaintiffs’           Excerpts from the           Redacted     Sealed per ECF 625.
                    Opposition to         transcript of Plaintiffs’
                    Motions to Exclude    Deposition of Robert
                    Expert Testimony of   Topel
                    Drs. Singer and
                    Zimbalist (Ex. 56)
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  Main       ECF      Filing Exhibit           Description            Sealed or     Applicable Order /
Document                 Number                                       Redacted            Notes
           534-11   Plaintiffs’           Excerpts from the           Redacted     Sealed per ECF 625.
                    Opposition to         transcript of Plaintiffs’
                    Motions to Exclude    Deposition of Robert
                    Expert Testimony of   Topel
                    Drs. Singer and
                    Zimbalist (Ex. 57)
           534-13   Plaintiffs’           Excerpts from the           Redacted     Sealed per ECF 625.
                    Opposition to         transcript of Plaintiffs’
                    Motions to Exclude    Deposition of Roger
                    Expert Testimony of   Blair
                    Drs. Singer and
                    Zimbalist (Ex. 59)
           534-16   Plaintiffs’           Excerpts from ZFL-          Sealed       Sealed per ECF 625.
                    Opposition to         0557588
                    Motions to Exclude
                    Expert Testimony of
                    Drs. Singer and
                    Zimbalist (Ex. 62)
           534-17   Plaintiffs’           Excerpts from ZFL-          Sealed       Sealed per ECF 625.
                    Opposition to         1055607
                    Motions to Exclude
                    Expert Testimony of
                    Drs. Singer and
                    Zimbalist (Ex. 63)
           534-18   Plaintiffs’           Excerpts from ZFL-          Sealed       Sealed per ECF 625.
                    Opposition to         1070290
                    Motions to Exclude
                    Expert Testimony of
                    Drs. Singer and
                    Zimbalist (Ex. 64)
           534-19   Plaintiffs’           ZFL-1081154                 Sealed       Sealed per ECF 625.
                    Opposition to
                    Motions to Exclude
                    Expert Testimony of
                    Drs. Singer and
                    Zimbalist (Ex. 65)
           534-20   Plaintiffs’           ZFL-1425511                 Sealed       Sealed per ECF 625.
                    Opposition to
                    Motions to Exclude
                    Expert Testimony of
                    Drs. Singer and
                    Zimbalist (Ex. 66)
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  Main       ECF      Filing Exhibit          Description      Sealed or     Applicable Order /
Document                 Number                                Redacted            Notes
           534-21   Plaintiffs’           ZFL-1872579          Sealed       Sealed per ECF 625.
                    Opposition to
                    Motions to Exclude
                    Expert Testimony of
                    Drs. Singer and
                    Zimbalist (Ex. 67)
           534-22   Plaintiffs’           Excerpts from ZFL-   Sealed       Sealed per ECF 625.
                    Opposition to         2279086
                    Motions to Exclude
                    Expert Testimony of
                    Drs. Singer and
                    Zimbalist (Ex. 68)
           534-23   Plaintiffs’           ZFL-2497585          Sealed       Sealed per ECF 625.
                    Opposition to
                    Motions to Exclude
                    Expert Testimony of
                    Drs. Singer and
                    Zimbalist (Ex. 69)
           534-24   Plaintiffs’           ZFL-2536695          Sealed       Sealed per ECF 625.
                    Opposition to
                    Motions to Exclude
                    Expert Testimony of
                    Drs. Singer and
                    Zimbalist (Ex. 70)
           534-25   Plaintiffs’           Excerpts from        Sealed       Sealed per ECF 625.
                    Opposition to         WME_ZUFFA_000053
                    Motions to Exclude    68
                    Expert Testimony of
                    Drs. Singer and
                    Zimbalist (Ex. 71)
           534-38   Plaintiffs’           ZUF-00113209         Sealed       Sealed per ECF 625.
                    Opposition to
                    Motions to Exclude
                    Expert Testimony of
                    Drs. Singer and
                    Zimbalist (Ex. 84)
           534-39   Plaintiffs’           ZFL-1484034          Sealed      Sealed per ECF 625.
                    Opposition to                                          Publicly available at ECF
                    Motions to Exclude                                     739-12.
                    Expert Testimony of
                    Drs. Singer and
                    Zimbalist (Ex. 85)
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   Main            ECF      Filing Exhibit         Description            Sealed or     Applicable Order /
 Document                      Number                                     Redacted            Notes
Zuffa’s Reply    549                                                      Redacted    Sealed per ECF 625.
in Support of
Its Motion to
Exclude
Testimony of
Dr. Andrew
Zimbalist
Zuffa’s Reply    551                                                      Redacted    Sealed per ECF 625.
in Support of
Its Motion to
Exclude
Testimony of
Dr. Hal Singer
                 551-3    Zuffa’s Reply in    Excerpts from the           Redacted     Sealed per ECF 625.
                          Support of Motion   transcript of
                          to Exclude          Defendant’s Deposition
                          Testimony of Hal    of Hal Singer
                          Singer (Ex. 37)
                 551-4    Zuffa’s Reply in    Excerpts from the           Redacted     Sealed per ECF 625.
                          Support of Motion   transcript of
                          to Exclude          Defendant’s Deposition
                          Testimony of Hal    of Hal Singer
                          Singer (Ex. 38)
                 551-7    Zuffa’s Reply in    Excerpts from               Redacted     Sealed per ECF 625.
                          Support of Motion   transcript of Plaintiffs’
                          to Exclude          30(b)(6) Deposition of
                          Testimony of Hal    Ike Lawrence Epstein
                          Singer (Ex. 41)
                 551-9    Zuffa’s Reply in    Excerpts from               Redacted     Sealed per ECF 625.
                          Support of Motion   transcript of Plaintiffs’
                          to Exclude          Deposition of Robert
                          Testimony of Hal    Topel
                          Singer (Ex. 43)
                 551-15   Zuffa’s Reply in    Professor Robert            Redacted    Sealed per ECF 625. The
                          Support of Motion   Topel’s Sur-Rebuttal                    Court indicated it should
                          to Exclude          Expert Report                           be unsealed. (ECF 724.)
                          Testimony of Hal
                          Singer (Ex. 49)
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  Main       ECF      Filing Exhibit         Description          Sealed or     Applicable Order /
Document                 Number                                   Redacted            Notes
           551-16   Zuffa’s Reply in    Professor Robert          Redacted    Sealed per ECF 625. The
                    Support of Motion   Topel’s Reply to the                  Court indicated it should
                    to Exclude          Supplemental Expert                   be unsealed. (ECF 724.)
                    Testimony of Hal    Report of Hal J. Singer
                    Singer (Ex. 50)

                                        Respectfully yours,

                                        /s/ Stacey K. Grigsby & /s/ Eric L. Cramer

                                        Stacey K. Grigsby & Eric L. Cramer
                                        Attorneys for Defendant Zuffa, LLC and Plaintiffs
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                                ATTESTATION OF FILER

       The signatories to this document are myself and Eric L. Cramer, and I have obtained Eric
L. Cramer’s concurrence to file this document on his behalf.



Dated: December 15, 2020                           /s/ Stacey K. Grigsby
                                                   Stacey K. Grigsby
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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing Notice of Sealed and Redacted
Documents was served on December 15, 2020 via the Court’s CM/ECF electronic filing system
addressed to all parties on the e-service list.


                                         /s/ Stacey K. Grigsby
                                         Stacey K. Grigsby
